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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK (01)
   AMERICA,
                                       DEFENDANT’S “PRIVATE
          Plaintiff,                   ATTORNEY GENERAL
                                       ANTHONY WILLIAMS
         v.                            MOTION FOR GOVERNMENT
                                       TO ESTABLISH THAT THESE
                                       PROCEEDINGS ARE
   ANTHONY T. WILLIAMS,                AVERSARIAL;”
                                       DECLARATION OF COUNSEL;
          Defendant.                   EXHIBIT “A;” CERTIFICATE
                                       OF SERVICE



    DEFENDANT’S “PRIVATE ATTORNEY GENERAL ANTHONY
     WILLIAMS MOTION FOR GOVERNMENT TO ESTABLISH
        THAT THESE PROCEEDINGS ARE AVERSARIAL”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides DEFENDANT’S “PRIVATE ATTORNEY GENERAL
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   ANTHONY WILLIAMS MOTION FOR GOVERNMENT TO

   ESTABLISH          THAT        THESE        PROCEEDINGS            ARE

   AVERSARIAL;” Declaration of Counsel and Exhibit “A.”

      Dated: December 2, 2019




                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
